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1                         DECLARATION OF DEBORAH A. CRUM
2          I, Deborah A. Crum, declare as follows:
3          1.     I am employed by the Federal Bureau of Investigation (FBI) as a
4    Supervisory Paralegal Specialist, currently assigned as the Unit Chief of the Discovery
5    Unit (DU), Litigation and Technology Management Section, Litigation Branch, Office of
6    General Counsel (OGC), located in Washington, D.C. I have been employed by the FBI
7    since April 1990.
8          2.     The statements contained in this declaration are based upon my personal
 9   knowledge, review, and consideration of documents available to me in my official
10   capacity, discussions with OGC counsel involved with this matter, and on information
11   obtained from other FBI employees.
12         3.     I submit this declaration in support of Defendants' Motion to Dismiss.
13         4.     I have access to the records contained in the FBI's Central Records System
14   (CRS). I am also personally familiar with the FBI records maintenance and retrieval
15   system.
16         5.     The records in the FBI's CRS include records of administrative claims
17   submitted to the FBI under the Federal Tort Claims Act. All administrative claims
18   submitted to the FBI are indexed into the CRS. Once indexed, a record of an
19   administrative claim is retrievable through a search of general indices to the FBI's CRS.
20   In short, the CRS is the FBI's official system of records for all investigative,
21   administrative, and official business of the FBI.
22         6.     CRS enables the FBI to maintain information that it has acquired in the
23   course of fulfilling its mandated law enforcement responsibilities. The records
24   maintained here consist of administrative, applicant, criminal, personnel, and other files
25   compiled for law enforcement purposes. Searching the FBI's CRS is the means by which
26   the agency can determine what retrievable information, if any, it may have in its files on
27   a particular subject matter or individual.
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1          7.     The DU is responsible for locating, reviewing, and processing for release
2    any and all responsive materials which pertain to litigation and administrative matters in
3    which the Bureau is either directly or indirectly involved.
4          8.     As Unit Chief, I oversee the Paralegal Specialists who conducted a diligent
5    search of the general indices to the FBI's CRS on 12/1/2021. This search of the FBI's
6    CRS did not locate any administrative claim submitted by or on behalf of Plaintiffs,
7    Donald Mellein or Paula Villegas de Mellein directly to the FBI.
8          I declare under penalty of perjury under the laws of the United States of America
9    that the foregoing is true and correct to the best of my knowledge and belief.
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11   Executed this __/__ day of December 2021
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                                                    �ora Crum
13                                                  Unit Chief,, Discovery Unit
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14                                                  Federal Bureau of Investigation
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